Case: 1:16-cv-10088 Document #: 294 Filed: 12/16/19 Page 1 of 1 PageID #:10007

                    UNITED STATES DISTRICT COURT
          FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.3.1
                               Eastern Division

Patrick R. Wilda
                               Plaintiff,
v.                                                   Case No.: 1:16−cv−10088
                                                     Honorable Steven C. Seeger
JLG Industries, Inc.
                               Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Monday, December 16, 2019:


        MINUTE entry before the Honorable Steven C. Seeger: Plaintiff's unopposed
motion for an extension of time (Dckt. No. [291]) is hereby granted. Plaintiff must
respond to Defendant JLG Industries, Inc.'s Motion to Exclude Anthony Bond (Dckt. No.
[283]), Motion to Exclude Steven Wiker (Dckt. No. [285]), and Motion for Summary
Judgment (Dckt. No. [287]) by January 27, 2020. Defendant JLG Industries, Inc. must
reply to each motion by February 10, 2020. The motion hearing set for December 23,
2020 is stricken. Mailed notice. (jjr, )




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Civil Procedure or Rule 49(c) of the Federal Rules of Criminal Procedure. It was
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